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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

AMERICAN AIRLINES, INC.,                            §
                                                    §
        Plaintiff,                                  §
                                                    §
v.                                                  §   Civil Action No. 4:23-cv-00860-P
                                                    §
SKIPLAGGED, INC.,                                   §
                                                    §
        Defendant.                                  §

           PLAINTIFF AMERICAN AIRLINES, INC.’S UNOPPOSED MOTION
              TO WITHDRAW TYSON LIES AS COUNSEL OF RECORD

        Plaintiff American Airlines, Inc. (“American”) files this Unopposed Motion to Withdraw

Tyson Lies as Counsel of Record. Effective October 20, 2023, Mr. Lies is no longer affiliated with

the law firm of Kelly Hart & Hallman LLP. Therefore, American hereby moves this Court for an

order permitting Tyson Lies to withdraw as counsel of record for American.

        Attorneys Dee J. Kelly, Jr., Lars L. Berg, and Julia G. Wisenberg of the law firm Kelly

Hart & Hallman LLP as well as Bina Palnitkar, Zachary B. Tobolowsky, and Nathan J. Muyskens

of the law firm Greenberg Traurig LLP will continue to represent American in this matter.



Dated: October 26, 2023                             Respectfully submitted,

                                                    /s/ Julia G. Wisenberg
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                                                    ATTORNEYS FOR PLAINTIFF



                            CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with Defendant Skiplagged, Inc.’s (“Skiplagged”) counsel,

Bill Kirkman, on October 26, 2023, and Skiplagged is unopposed to American’s motion.

                                                     /s/ Julia G. Wisenberg
                                                     Julia G. Wisenberg



                               CERTIFICATE OF SERVICE

       I certify that on October 26, 2023, I served the foregoing document electronically in

accordance with the Federal Rules of Civil Procedure.

                                                     /s/ Julia G. Wisenberg
                                                     Julia G. Wisenberg



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